 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Jeremy Thacker,                                   No. CV-18-00063-PHX-DJH
10                 Plaintiff,                          ORDER
11   v.
12   GPS Insight LLC,
13                 Defendant.
14
15          This matter is before the Court on the parties' Joint Notice of Discovery Dispute
16   (Doc. 55). On the Court's own motion,
17          IT IS ORDERED setting a Telephonic Discovery Dispute Hearing for July 26,
18   2018 at 1:30 p.m.      Counsel will receive dial-in instructions for the teleconference
19   separately via electronic mail prior to the hearing.
20          Dated this 16th day of July, 2018.
21
22
                                                    Honorable Diane J. Humetewa
23                                                  United States District Judge
24
25
26
27
28
